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                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION


BARBARA IRWIN, on Behalf of Herself and All
Others Similarly Situated,
                                                         Case No. 2:14-CV-02275-HAB-DGB
                          Plaintiffs,

             v.

JIMMY JOHN’S FRANCHISE, LLC, et. al,

                          Defendants.



                    STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a), this Stipulation of Dismissal is hereby

entered into by and between Plaintiff Barbara Irwin and Defendants Jimmy John’s Franchise,

LLC and Jimmy John’s Enterprises, LLC as follows:

        WHEREAS, Plaintiff initiated the above-captioned action on November 6, 2014;

        WHEREAS, Plaintiff filed an Amended Complaint on July 31, 2015;

        WHEREAS, Defendants answered Plaintiff’s First Amended Complaint on April 19,

2016;

        WHEREAS, no other parties are named in the First Amended Complaint, have been

served, or have appeared; and

        WHEREAS, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), subject to

certain exceptions inapplicable here, a plaintiff may dismiss an action without a court order by

filing a stipulation of dismissal signed by all parties who have appeared in the action,

        NOW, THEREFORE, IT IS HEREBY STIPULATED:
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   1. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the above-captioned action is

       hereby dismissed with prejudice;

   2. Each Party shall bear its own costs and fees, taxable or otherwise; and

   3. Neither Party shall be deemed a “prevailing party” within the meaning of Federal Rule of

       Civil Procedure 54.



Barbara Irwin, Plaintiff                           Jimmy John’s Franchise LLC and Jimmy
                                                   John’s Enterprises LLC, Defendants


BY: /s/ Matthew T. Hurst                    BY: /s/ Robert J. Kriss

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